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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:21-cr-00099-SI

              v.
                                                     GOVERNMENT’S SENTENCING
CARLOS ARON PALADINI,                                MEMORANDUM

              Defendant.


       Introduction

       While on federal supervision for drug trafficking, Defendant was caught involved in

monetary transactions related to drug trafficking. Defendant’s supervised release should be

revoked, and a sentence of 70 months should be imposed and served concurrent to the sentence

in 3:09-cr-00057-SI.

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Factual Background

       While on supervision for a prior drug conviction, Defendant was found asleep in the

driver’s seat of his vehicle which was parked partially on the sidewalk and the lawn of a church

in Jefferson. (PSR ¶17). After observing signs of intoxication, officers requested Defendant’s

consent to a field sobriety test, which he agreed to and failed. (PSR ¶¶18 – 19).

       During a search of the vehicle, officers found a bundle of $10,300 in United States

currency and two small rocks of methamphetamine. In the trunk, officers found a safe containing

319 grams of methamphetamine, two loaded hypodermic needles, several unused hypodermic

needles, a measuring scale, and several small plastic bags. (PSR ¶20). Defendant purchased the

seized methamphetamine with unlawful drug trafficking proceeds and the currency seized was

the proceeds of unlawful drug trafficking.

       Defendant was transported to a nearby police department and provided officers a breath

sample which indicated a BAC of 0.00%. Then Defendant provided a urine sample but before an

officer sealed the box containing the sample, Defendant asked, “Do you have to turn that in? It's

gonna’ have meth in it.” (PSR ¶21).

       Defendant was eventually returned to Jefferson and issued citations for Driving Under the

Influence of Intoxicants and Delivery of a Controlled Substance. The cash and

methamphetamine from the vehicle were seized. (PSR ¶23).

Plea Agreement

       On April 6, 2021, Defendant pleaded guilty to Count 1 of the Information which charged

Money Laundering in violation of Title 18, United States Code, Section 1956(a)(1)(A)(i).

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Guideline Computations

       Defendant’s relevant conduct is a base offense level of 26. USSG §§2S1.1(a)(1), 2D1.1.

Since Defendant was convicted of a violation of 18 U.S.C. § 1956(a)(1)(A)(i), the offense level

is increased by two. USSG §2S1.1(b)(2)(B). Because Defendant demonstrated acceptance of

responsibility, he is eligible for a three-level reduction, provided Defendant continues to

demonstrate acceptance of responsibility. USSG §3E1.1. The government agreed to recommend

a two-level reduction based on health information provided by Defendant. USSG §5H1.3.

Finally, the government recommends a further two-level reduction for Defendant’s waiver of

indictment and very early resolution of this case.

 Count 1: 18 U.S.C. § 1956(a)(1)(A)(i) – Money Laundering
 USSG §2S1.1(a)(1)             Base Offense Level                                       26
 USSG §2S1.1(b)(2)(B)          Specific Offense Characteristics                         +2
 USSG §3E1.1                   Acceptance of Responsibility                             -3
 USSG §5H1.3                      Health Conditions                                     -2
 18 U.S.C. §3553(a)                                                                     -2
                                  Adjusted Offense Level                                21


Criminal History

           Crime              Conviction Date           Jurisdiction               Sentence

 Possession of                5/9/2002               Washington County      18 Months Probation
 Methamphetamine;                                    Circuit Court
 Forgery
 Possession of                9/12/2003              Washington County      10 Days Jail, 18
 Methamphetamine                                     Circuit Court          Months Probation
 Delivery of                  4/17/2003              Washington County      12 Months, 2 Years
 Methamphetamine and                                 Circuit Court          PPS
 Cocaine;
 Identity Theft
 Possession of                4/30/2003              Multnomah County       6 Months, 1 Year
 Methamphetamine                                     Circuit Court          PPS
 Possession of                9/12/2003              Clackamas County       18 Months Probation
 Methamphetamine                                     Circuit Court
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 Criminal Possession of a      12/01/2003            Washington County         13 Months, 1 Year
 Forged Instrument                                   Circuit Court             PPS
 Delivery of                   8/1/2005              Washington County         26 Months, 3 Years
 Methamphetamine;                                    Circuit Court             PPS
 Possession of
 Methamphetamine;
 Identity Theft
 Delivery of                   9/10/2009             Washington County         25 Months, 3 Years
 Methamphetamine                                     Circuit Court             PPS
 Within 1,000 Feet of a
 School;
 Delivery of
 Methamphetamine;
 Possession of
 Methamphetamine
 Possession with Intent        9/3/2009              District of Oregon        140 Months, 3 years
 to Distribute                                                                 Supervised Release
 Methamphetamine
 Unlawful Possession of        2/7/2020              Washington County         3 Years Probation
 Methamphetamine                                     Circuit Court


        Defendant committed the instant offense will under supervision for his 2009 federal

conviction and the 2020 Washington County conviction. He receives an additional two points

pursuant to USSG §4A1.1(d). (PSR ¶59). His criminal history category is a Level V. (PSR

¶60).

Forfeiture and Abandonment

        Defendant agreed to forfeit all right, title, and interest in and to all assets which are

subject to forfeiture pursuant to 18 U.S.C. § 982, including $10,300, which defendant admits

constitute the proceeds of defendant’s criminal activity and/or were used to facilitate defendant’s

criminal activity in violation of Money Laundering as set forth in Count 1 of the Information.

An initial Preliminary and Final Order of Forfeiture was filed on May 25, 2021 and was

corrected by an amended Preliminary and Final Order of Forfeiture. [ECF 13, 14].


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Government’s Recommended Sentence

       Defendant has a long criminal history of possessing, delivering, and abusing controlled

substances. In 2009, Defendant was sentenced to 140 months incarceration in case number 3:09-

cr-00057-SI. Unfortunately, Defendant returned to using and selling drugs, despite being on

supervised release. Defendant’s return to use and selling drugs is unfortunately not surprising

because his criminal history shows this repeated pattern of failing to curb his criminal behavior.

However, it is clear Defendant relapsed in part as a result of the death of his son. The

government hopes given Defendant’s significant health issues and his age will result into

changing his behavior. Thus, the government believes supervised release should be revoked and

a sentence of 70 months at the low end of the guidelines is appropriate.

       While not bound by the Sentencing Guidelines, district courts must consult the

Guidelines and take them into account when sentencing. United States v. Booker, 543 U.S. 220,

125 S. Ct. 738, 767 (2005). The sentencing guidelines are advisory and one of the statutory

factors this Court must consider when imposing a sentence. See 18 U.S.C. § 3553(a)(4); United

States v. Rita, 551 U.S. 338, 347-48 (2007). The guideline serves as “the starting point and the

initial benchmark” in every sentencing proceeding and “reflect a rough approximation of

sentences that might achieve § 3553(a)’s objectives.” Gall v. United States, 552 U.S. 38, 49

(2007); Rita, 551 U.S. at 350. The guidelines serve as a “lodestone” at sentencing, and “cabin” or

“anchor” a sentencing court’s discretion. Peugh v. United States, 569 U.S. 530, 531 (2013).

While advisory, the Supreme Court has observed that, “[c]ommon sense indicates that in general,

this system will steer district courts to more within-guidelines sentences.” Id.


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       A sentence of 70 months reflects the low end of the applicable guideline range and would

recognize Defendant’s acceptance of responsibility but would still provide adequate deterrence

to criminal conduct for both Defendant the public at large. A 70-month sentence and $100

special assessment satisfies the requirement of 18 U.S.C. § 3553(a) as a “sentence sufficient, but

not greater than necessary” to meet the purposes of § 3553(a)(2).

Conclusion

       Based on the foregoing, the government recommends that this Court revoke Defendant’s

supervised release and impose a concurrent sentence of 70 months.



Dated: June 29, 2021                                 Respectfully submitted,

                                                     SCOTT ERIK ASPHAUG
                                                     Acting United States Attorney


                                                     /s/ Lewis S. Burkhart
                                                     LEWIS S. BURKHART, OSB #082781
                                                     Assistant United States Attorney




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